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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
10   UNITED STATES OF AMERICA,                  )       NO. CR05-417RSM
                                                )
11                 Plaintiff,                   )
                                                )
12                 vs.                          )       ORDER GRANTING STIPULATED
                                                )       MOTION FOR CONTINUANCE OF
13   JOHN JAY CUNNINGHAM,                       )       TRIAL DATE AND RELATED
     LISA LUERA,                                )       MATTERS WITH RESPECT TO
14   JUSTIN BRICE WILLIAMS,                     )       SEVEN DEFENDANTS
     MUHAMMAD ALI ATKINS,                       )
15   JOSEPH TRAN,                               )
     LUCAS JOHNNY QUILT,                        )
16   FAYVE ELI MARY QUILT,                      )
     DIDE CRYSTAL QUILT,                        )
17   JOANNE CHRISTIN ROSETTE,                   )
     RANGER OPPENHEIM,                          )
18   ERIN CASPER, and                           )
     ABRAHAM CHARLES SHEENA.                    )
19                                              )
                   Defendants.                  )
20                                              )
21
            Upon consideration of the parties’ Stipulated Motion for Continuance of Trial
22
     Date and Related Matters and the defendants’ agreement to continue the trial date until
23
     March 6, 2006 (or up to March 16, 2006, if a later date is scheduled), and that any
24
     additional pretrial motions be filed no later than February 9, 2006;
25
     ///
26

     STIPULATED ORDER GRANTING STIPULATED                                   FEDERAL PUBLIC DEFENDER
                                                                                      1601 Fifth Ave., Suite 700
     MOTION FOR CONTINUANCE OF TRIAL DATE                                           Seattle, Washington 98101
     (CUNNINGHAM, ET AL.) – CR05-417RSM –           1                                            (206) 553-1100
           Case 2:05-cr-00417-RSM         Document 123       Filed 01/20/06     Page 2 of 3



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 3          THE COURT NOW FINDS that pursuant to Title 18, U.S.C. § 3161(h)(8)(A)
 4   and § 3161(h)(8)(B)(iv), the ends of justice served by continuing the trial date to March
 5   6, 2006 (or up to March 16, 2006, if a later date is selected), outweigh the best interests
 6   of the public and the defendants in a speedy trial, in that, as set forth in the parties’
 7   Stipulation, it has been demonstrated that defense counsel need additional time to
 8   properly prepare and investigate this case. Specifically, counsel need additional time to
 9   review the voluminous discovery materials in this case. The Court further finds that
10   there are additional logistical difficulties faced by defense counsel because most of the
11   defendants who request this continuance reside in a remote area of northern British
12   Columbia and therefore meetings with defense counsel must be planned well in advance
13   and require great effort on behalf of both the defendants and their counsel.
14          IT IS THEREFORE ORDERED THAT trial in this matter is continued until
15   March 6, 2006 (or up to March 16, 2006, if a later date is scheduled) and that any
16   additional pretrial motions be filed no later than February 9, 2006.
17          IT IS FURTHER ORDERED THAT, for the purposes of computing the time
18   limitations imposed by the Speedy Trial Act, 18 U.S.C. §§ 3161-3174, the period of
19   delay from January 23, 2006, up to and including March 6, 2006 (or up to March 16,
20   2006, if a later date is scheduled), is excludable time pursuant to 18 U.S.C. §§
21   3161(h)(8)(A) and (h)(8)(B)(iv).
22          DONE this 20th day of January, 2006.
23

24

25
                                                         A
                                                         RICARDO S. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE
26

     STIPULATED ORDER GRANTING STIPULATED                                   FEDERAL PUBLIC DEFENDER
                                                                                         1601 Fifth Ave., Suite 700
     MOTION FOR CONTINUANCE OF TRIAL DATE                                              Seattle, Washington 98101
     (CUNNINGHAM, ET AL.) – CR05-417RSM –           2                                               (206) 553-1100
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     Presented by:
 3

 4   s/ Michael Filipovic
     Bar No. 12319
 5   Assistant Federal Public Defender
     Attorney for Abraham Charles Shenna
 6   Federal Public Defender
     1601 Fifth Avenue, Suite 700
 7   Seattle, WA 98101
     Tel. (206) 553-1100
 8   Fax (206) 553-0120
     Michael_Filipovic@fd.org
 9

10
     Agreed to by stipulation, notice of
11   presentment waived, signature approved
     per telephone authorization:
12
     s/ Douglas B. Whalley
13   Assistant United States Attorney
14
     s/ Lisca Borichewski
15   Assistant United States Attorney
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     STIPULATED ORDER GRANTING STIPULATED                          FEDERAL PUBLIC DEFENDER
                                                                               1601 Fifth Ave., Suite 700
     MOTION FOR CONTINUANCE OF TRIAL DATE                                    Seattle, Washington 98101
     (CUNNINGHAM, ET AL.) – CR05-417RSM –      3                                          (206) 553-1100
